
HARTZ, Circuit Judge,
concurring.
I join fully in Judge Baldock’s opinion. I write separately to make one observation. At oral argument Forest Guardians asserted that it might be able to evaluate FEMA’s conduct better if it had the precise locations of structures, which could be obtained from the electronic GIS files but were not discernible from the maps that FEMA had provided. As an example, it noted that it might not be able to determine whether a structure near an eagle nest was the one shown -on the map. But Forest Guardians also conceded at oral argument that it had not made that point in district court. Therefore, the district court clearly ruled correctly as the matter was presented to it, and Forest Guardians’ additional argument is not properly before us on appeal.
